
PER CURIAM.
Adam Miller appeals his convictions and sentences after pleading to four counts of scheme to defraud over $ 50,000 and one count of scheme to defraud over $ 20,000. We affirm Miller's convictions and sentences without further comment. However, because the order of probation erroneously omits Miller's sentence on count three, we remand for the correction of the written probation order to conform to the oral pronouncement on count three. See Powell v. State, 223 So.3d 412, 414 (Fla. 5th DCA 2017) ; Williams v. State, 604 So.2d 8, 10 (Fla. 1st DCA 1992).
Affirmed; remanded with instructions.
LaROSE, C.J., and KHOUZAM and SLEET, JJ., Concur.
